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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

DONNA CURLING, ET AL.,                       )
PLAINTIFFS,                                  )
                                             )
v.                                           )Civil Action No. 1: 17-CV-2989-A
                                             )
BR AD RAFFENSPERGER, ET AL.,                 )
DEFENDANTS.                                  )
                                             )


                      DECLARATION OF RICARDO DAVIS

      I am Ricardo Davis, Plaintiff herein, of full age and sound mind and

suffering under no condition that would interfere with my truthful testimony

herein.

                                        1.

      I have been represented in this action by Cary Ichter and understood him to

be my attorney of record. I have not had any contact with the other two attorneys

who may have listed my name on their notice of appearance.

                                        2.

      On December 7, 2023 I received written notice from my counsel Cary Ichter

that he expected to have back surgery during the period of time in which this case

is scheduled to be tried. A true and correct copy of an email from Mr. Ichter to me

is attached hereto as Exhibit "A".

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                                           3.

       On December 10, 2023, Mr. Ichter confirmed to me verbally that the surgery

would likely take place during the trial, and there is a risk he could not appear for

part or all of the trial.

                                           4.

       I have had no contact with either of the remaining two attorneys who noticed

an appearance for me, and I do not believe either one can adequately represent my

interests in this action.

                                           5.

       I have requested David Oles, Esq., to enter an appearance as one of my co-

counsel in the case.

                                           6.

       I am giving this declaration in support of my request for this Court to

receive the appearance of counsel on my behalf.

                                           7.

       I do not request a separate trial in this action, as doing so at this late stage

when discovery is already complete would subject me unfairly to enormous cost

and expense.

                                           8.




                                            2
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      As a plaintiff in this case for over 6 years, I am prepared to be ready for trial

on January 9, 2024 as planned without any delays.

                                          9.

      In compliance with 28 U.S.C. § 1746 I declare and certify and state under

penalty of perjury that the foregoing is true and correct.



      Executed on December 13, 2023.




                                          ~




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                                                 Exhibit A



On Dec 7, 2023, at 22:16, Cary lchter <Clchter@lchterDavis.com> wrote:



If you want me. Bruce and I have talked about him also making an appearance
for all of the individual plaintiffs b/ c I may have to have back surgery while the
trial is going on. We shall see. But let me know what your wishes-Dr Plan B on
your wishes-are. Cary

Carylchter,Partner
Ichter Davis, LLC
400 Interstate N Pkwy
Suite 860
Atlanta, GA 30339
phone 404.869.5243
fax 404.602.0037
cell 404. 769.1353
cichter(a),IchterDavis.com
<image001.png><image002.png>



From: Ricardo Davis <ricardodavis@gaconstitutionparty.org>
Sent: Thursday, December 7, 2023 10:13 PM
To: Cary lchter <Clchter@lchterDavis.com>
Subject: Representation Going Forward?



Good evening Cary,

I have received Judge Toten berg's order regarding denying substitution of counsel.

From your perspective are you still my counsel? If not, then what must be done?



-Ricardo


Ricardo Davis
(404) 620-2440
P.O. Box 2153, Woodstock, GA 30188
ricardodavis@gaconstitutionparty.org

<image003.png>



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